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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Deborah Laufer
                                 Plaintiff,
v.                                                  Case No.: 1:20−cv−04378
                                                    Honorable Charles R. Norgle Sr.
Shah Hospitality, L.L.C.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 24, 2020:


       MINUTE entry before the Honorable Charles R. Norgle:Civil case terminated.
Mailed notice(ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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